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Gery W. Edson
GERY W. EDSON, P.A.
250 South Fifth Street, Suite 820
P. O. Box 448
Boise, Idaho 83702
Phone:(208) 345-8700
Fax: (208) 389-9449
Idaho Bar No. 2984
Attorney for Earthcraft Construction, Inc.

                            UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF IDAHO

In Re:                               )                 Bankruptcy No. 21-00712
                                     )
BLUE CIRCLE INVESTMENTS, LLC,        )
                                     )
                         Debtor.     )
____________________________________ )

                     SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the Above Named Debtor:

        A Petition under Title 11, United States Code was filed against you in this Bankruptcy Court
on the 8th day of December, 20201, requesting an order for relief under Chapter 7 of the Bankruptcy
Code (title 11 of the United States Code).

        YOU ARE SUMMONED and required to file with the Clerk of the Bankruptcy Court, a
motion or answer to the petition within 21 days after services of this Summons. A copy of the
Petition is attached.

         Clerk of the Court
         United States Bankruptcy Court for the District of Idaho
         550 West Fort Street, Suite 400
         Boise, ID 83724
         Phone: (208) 334-1361
         Facsimile: (208) 334-9362




SUMMONS TO DEBTOR IN INVOLUNTARY CASE - Page 1
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At the same time, you must also serve a copy of your motion or answer on Petitioners’ attorney:

       Gery W. Edson
       GERY W. EDSON, P.A.
       250 South Fifth Street, Suite 820
       P.O. Box 448
       Boise, ID 83701
       Telephone:    (208) 345-8700
       Facsimile:    (208) 389-9449
       Email:        gedson@gedson.com

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this Summons, the order for relief will be entered.


                                              STEPHEN W. KENYON, CLERK,
                                              UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF IDAHO


Dated: __________________                   By________________________________________
                                              Deputy Clerk




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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
                                         Idaho
     ____________________ District of _________________
                                           (State)
                                                                 7
     Case number (If known): _________________________ Chapter _____

                                                                                                                                            Check if this is an
                                                                                                                                            amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                            12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                       x      Chapter 7
                                              Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Blue Circle Investments, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification                Unknown
     Number (EIN)
                                       8 2             5 4 5 7 9 0 2
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                     Mailing address, if different
5.   Debtor’s address

                                       1336   Hill Rd. South
                                       ________________________________________________                _________________________________________________
                                       Number         Street                                           Number     Street


                                                                                                       _________________________________________________
                                       _________________________________________________
                                                                                                       P.O. Box

                                       Melba
                                       ______________________________          ID    83641-5335
                                                                             _______ _________         _____________________________ _______ _________
                                       City                                  State   ZIP Code          City                          State   ZIP Code



                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                       Canyon
                                       _________________________________________________               _________________________________________________
                                       County                                                          Number     Street

                                                                                                       _________________________________________________

                                                                                                       _____________________________ _______ _________
                                                                                                       City                          State   ZIP Code


Official Form 205                                          Involuntary Petition Against a Non-Individual                                    page 1
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Debtor         Blue Circle Investments, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        _____________________________________________________________________________________________________



                                    X    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
7.    Type of debtor
                                         Partnership (excluding LLP)
                                         Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    X Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the types of business listed.
                                        Unknown type of business.


9.    To the best of your           X    No
      knowledge, are any
      bankruptcy cases                   Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:
                                    X Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                        A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.


11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:
                                    X The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                        Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              X No
      transfer of any claim
      against the debtor by or          Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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       oebror Blue Circle fnvestm     LLC                                                                              Case number




               Name and malling address of petitioner

               Falcon                     LLC                                                       Michael N. Ysursa
               Name                                                                                 Printed name

               8324 W: Northview St., Suite 103                                                     Ysursa                      PLLC
               Number     Street                                                                           name, if any

               Boise
               City                                     Stale
                                                                ID            83704                 5598 N. Eagle Rd., Suite 102
                                                                                                    Number
                                                                            ztP Code                                Street

                                                                                                    Boise                                           ID       83713
               Name and mailing address of petitioner,s representative,
                                                                        if any                      City                                       State       ZtPGde
                                                                                                                                                                    --
            Aaron Snow, M                                                                           contacrphone             208-562-4107 srr;1 mick@ysursalaw.com

            Same                                                                                    Bar number
            Number      Stre€t

                                                                                                   State                  Idaho
           Clty                                        State               ZIP Code

           I   declare under penalty of perjury that the foregoing
                                                                   is true and correct.

           Executed on                                                                        x
                                                                                                               of

                                                                Owner/Manager
           Signature of                             including representative's tiile
                                                                                                   Dale signed                            z/

          Name and mailing address of petitioner

          Idaho Premier Stu cco, LLC
          Name                                                                                    Printed name

          7nn. Fairview                        Suite 14
                                                                                                         name,      any

          Meridian                                           ID              83642
          City                                       State                ZLPd&-                  Number       Street


          Name and mailing address of petitioner's representative,                               City
                                                                   if any                                                                   State        ZIP Code
       Jessica                     beII                                                          Contact phone                            Email


       Same                                                                                      Bar number
       Number         Street

                                                                                                 Stale
      City                                           State               Zp code
                                                                                 '--
      I   declare under penalty of perjury that the foregoing is
                                                                 true and correct.

      Executed on
                        MM / DD /YYYY
                                                                                            ,c
                                                                                                 Signature of aftorney

 JC
                                                             Operations Manager
      Signature of petfttoner or representatiye, including representalive,s                      Date signed
                                                                            liile                                     MM      /DD IYYYY


Official Form 20S
                                                                   lnvoluntary Petition Against a Non-lndividual
                                                                                                                                                         page 4
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Debtor         Blue Circle Investments, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner
                                                                                          Michael    N. Ysursa
   Falcon    Framers, LLC
   ______________________________________________________________                         ________________________________________________________________
                                                                                          Printed name
   Name

 8324   W. Northview Street, Suite 102                                                    Ysursa    Law, PLLC
                                                                                          ________________________________________________________________
  ______________________________________________________________                          Firm name, if any
   Number     Street

   Bois                                                               8370                5598     N. Eagle Rd., Suite
    _________________________________                  ID
                                                 ______________ _____________             ________________________________________________________________
   eCity                                         State                4
                                                                ZIP Code                  102
                                                                                          Number Street

                                                                                          Bois                                    ID
                                                                                          _________________________________ ______________
                                                                                                                                              8371
                                                                                                                                            _____________
   Name and mailing address of petitioner’s representative, if any                        e
                                                                                          City                               State            3Code
                                                                                                                                            ZIP

                                                                                                                                  mick@ysursalaw.c
                                                                                                        208-562-41 Email ___________________________
                                                                                          Contact phone _________________
   Aaron    Snow, Manager
   ______________________________________________________________
                                                                                                                                  om
   Name                                                                                                 07
                                                                                          Bar number      ___________________________________________________
  2280   N. Maple Grove Rd.
   ______________________________________________________________
   Number     Street
                                                                                          State
                                                                                                           Idah
                                                                                                          _________________
   Boise
   _________________________________                  ID              8370
                                                 ______________ _____________                              o
   City                                          State                4
                                                                ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________                                                           ________________________________________________________________
               MM / DD / YYYY                                                             Signature of attorney


    ______________________________________________________________  Manager               Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   Idaho   Premier Stucco, LLC
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   712   E. Fairview Ave., Suite 14
   ______________________________________________________________                         Firm name, if any
   Number     Street

   Meridian
   _________________________________                  ID         83642  8364
                                                 ______________ _____________             ________________________________________________________________
                                                                                          Number Street
   City                                          State          ZIP Code2
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
   Jessica
    ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Campbell
    Name

   Sam
    ______________________________________________________________
                                                                                          Bar number      ___________________________________________________

   eNumber Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  11/17/2021
   Executed on _________________                                                           ________________________________________________________________
               MM / DD / YYYY                                                             Signature of attorney


                                                         Operations
    ______________________________________________________________                        Date signed      _________________
                                                         Manager
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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 13. Each petitioner’s claim         Name of petitioner        Nature of petitioner’s    Amount of the
                                                                      claim             claim above the
                                                                                        value of any lien

                               Earthcraft Construction, Inc. Construction services        $680,441.13

                               Falcon Framers, LLC           Building framing                82,803.89

                               Idaho Premier Stucco, LLC     Stucco siding                     8,961.64

                               Thorpe Fire Sprinkler         Fire suppression                  9,095.37
                               Systems, Inc.



                                                             Total of petitioners’
                                                             claims                       $781,302.03
